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15 Federal Trade Commission
16                       UNITED STATES DISTRICT COURT
17                      CENTRAL DISTRICT OF CALIFORNIA

18 FEDERAL TRADE COMMISSION,
                                 Plaintiff,           Case no.
19
                  v.
20
   UNIVERSAL CITY NISSAN, INC., a California
21 Corporation, also d/b/a Universal Nissan;          COMPLAINT FOR
22 SAGE DOWNTOWN, INC., a California                  PERMANENT
   Corporation, also d/b/a Kia of Downtown Los        INJUNCTION AND
23 Angeles;                                           OTHER EQUITABLE
24 GLENDALE NISSAN/INFINITI, INC., a                  RELIEF
   California Corporation, also d/b/a Glendale
25 Infiniti and d/b/a Glendale Nissan;
26 VALENCIA HOLDING CO., LLC, a California
   Limited Liability Company, also d/b/a Mercedes-
27 Benz of Valencia;
28 WEST COVINA AUTO GROUP, LLC, a
   California Limited Liability Company, also d/b/a
                                            1
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     West Covina Toyota and West Covina
1    Toyota/Scion;
2    WEST COVINA NISSAN, LLC, a California
     Limited Liability Company;
3
     COVINA MJL, LLC, a California Limited
4    Liability Company, also d/b/a Sage Covina
     Chevrolet;
5
     SAGE NORTH HOLLYWOOD, LLC, a
6    California Limited Liability Company, also d/b/a
     Sage Pre-Owned;
7
     SAGE VERMONT, LLC, a California Limited
8    Liability Company, also d/b/a Sage Hyundai;
9    SAGE HOLDING COMPANY, INC., a
     California Corporation;
10
     SAGE MANAGEMENT COMPANY, INC., a
11   California Corporation;
12   JOSEPH SCHRAGE, a/k/a JOSEPH SAGE, in
     his individual and corporate capacities;
13
     LEONARD SCHRAGE, a/k/a LEONARD
14   SAGE, in his individual and corporate capacities;
     and
15
     MICHAEL SCHRAGE, a/k/a MICHAEL SAGE,
16   in his individual and corporate capacities.
17                                Defendants.
18         Plaintiff, the Federal Trade Commission (“FTC”) for its Complaint alleges:
19
           1.     The FTC brings this action under Section 13(b) of the Federal Trade
20

21   Commission Act (“FTC Act”), 15 U.S.C. § 53(b); the Truth in Lending Act
22
     (“TILA”), 15 U.S.C. §§ 1601-1666j; and the Consumer Leasing Act (“CLA”), 15
23

24   U.S.C. §§ 1667-1667f, to obtain temporary, preliminary, and permanent injunctive
25   relief, rescission or reformation of contracts, restitution, the refund of monies paid,
26
     disgorgement of ill-gotten monies, and other equitable relief for Defendants’ acts
27

28   or practices in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), TILA
                                                2
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     and its implementing Regulation Z, 12 C.F.R. § 226; and CLA and its
1

2    implementing Regulation M, 12 C.F.R. § 213.
3
                               JURISDICTION AND VENUE
4
           2.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§
5

6    1331, 1337(a), and 1345; 15 U.S.C. §§ 45(a), 53(b), and 1607(c).
7
           3.     Venue is proper in this District under 28 U.S.C. § 1391(b)(1), (b)(2),
8

9    (c)(1), (c)(2), and (d), and 15 U.S.C. § 53(b).
10
                                         PLAINTIFF
11
           4.     Plaintiff FTC is an independent agency of the United States
12

13   Government created by statute. 15 U.S.C. §§ 41-58. The FTC enforces Section
14
     5(a) of the FTC Act, 15 U.S.C. § 45(a), which prohibits unfair or deceptive acts or
15

16   practices in or affecting commerce. The FTC also enforces TILA, 15 U.S.C. §§
17
     1601-1666j, which establishes, inter alia, disclosure and calculation requirements
18
     for consumer credit transactions and advertisements, and CLA, 15 U.S.C. §§ 1667-
19

20   1667f, which establishes, inter alia, disclosure and calculation requirements for
21
     consumer lease transactions and advertisements.
22

23         5.     The FTC is authorized to initiate federal district court proceedings, by
24
     its own attorneys, to enjoin violations of the FTC Act, TILA, and CLA, and to
25
     secure such equitable relief as may be appropriate in each case, including
26

27   rescission or reformation of contracts, restitution, the refund of monies paid, and
28
     the disgorgement of ill-gotten monies. 15 U.S.C. §§ 53(b) and 1607(c).
                                             3
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                                        DEFENDANTS
1

2             6.   UNIVERSAL CITY NISSAN, INC., also d/b/a Universal Nissan
3
     (“Universal City Nissan”), is a California corporation, with its principal place of
4
     business at 3550 Cahuenga Blvd. W., Los Angeles, CA, 90068. Universal City
5

6    Nissan transacts or has transacted business in this district. At all times material to
7
     this Complaint, acting alone or in concert with others, Universal City Nissan has
8

9    advertised, marketed, distributed, or offered vehicles to consumers for sale or
10
     lease.
11
              7.   SAGE DOWNTOWN, INC., also d/b/a Kia of Downtown Los
12

13   Angeles (“Kia of Downtown”), is a California corporation, with its principal place
14
     of business at 1945 S. Figueroa St., Los Angeles, CA 90007. Kia of Downtown
15

16   transacts or has transacted business in this district. At all times material to this
17
     Complaint, acting alone or in concert with others, Kia of Downtown has
18
     advertised, marketed, distributed, or offered vehicles to consumers for sale or
19

20   lease.
21
              8.   GLENDALE NISSAN/INFINITI, INC., also d/b/a Glendale Infiniti
22

23   and d/b/a Glendale Nissan (“Glendale Nissan”), is a California corporation, with its
24
     principal place of business at 727 S. Brand Boulevard, Glendale, CA 91204.
25
     Glendale Nissan transacts or has transacted business in this district. At all times
26

27   material to this Complaint, acting alone or in concert with others, Glendale Nissan
28

                                                4
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     has advertised, marketed, distributed, or offered vehicles to consumers for sale or
1

2    lease.
3
              9.    VALENCIA HOLDING COMPANY, LLC, also d/b/a Mercedes-
4
     Benz of Valencia (“Mercedes-Benz of Valencia”), is a California limited liability
5

6    company, with its principal place of business at 2335 Valencia Blvd., Valencia,
7
     CA 91355. Mercedes-Benz of Valencia transacts or has transacted business in this
8

9    district. At all times material to this Complaint, acting alone or in concert with
10
     others, Mercedes-Benz of Valencia has advertised, marketed, distributed, or
11
     offered vehicles to consumers for sale or lease.
12

13            10.   WEST COVINA AUTO GROUP, LLC, d/b/a West Covina Toyota
14
     and d/b/a West Covina Toyota/Scion (“West Covina Toyota”), is a California
15

16   limited liability company, with its principal place of business at 1800 E. Garvey
17
     Ave. South, West Covina, CA 91791. West Covina Toyota transacts or has
18
     transacted business in this district. At all times material to this Complaint, acting
19

20   alone or in concert with others, West Covina Toyota has advertised, marketed,
21
     distributed, or offered vehicles to consumers for sale or lease.
22

23            11.   WEST COVINA NISSAN, LLC (“West Covina Nissan”) is a
24
     California limited liability company, with its principal place of business at 205 N.
25
     Citrus St., West Covina, CA 91791. West Covina Nissan transacts or has
26

27   transacted business in this district. At all times material to this Complaint, acting
28

                                                5
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     alone or in concert with others, West Covina Nissan has advertised, marketed,
1

2    distributed, or offered vehicles to consumers for sale or lease.
3
              12.   COVINA MJL, LLC, also d/b/a Sage Covina Chevrolet (“Covina
4
     Chevrolet”), is a California limited liability company, with its principal place of
5

6    business at 635 S. Citrus Ave., Covina, CA 91723. Covina Chevrolet transacts or
7
     has transacted business in this district. At all times material to this Complaint,
8

9    acting alone or in concert with others, Covina Chevrolet has advertised, marketed,
10
     distributed, or offered vehicles to consumers for sale or lease.
11
              13.   SAGE NORTH HOLLYWOOD, LLC, also d/b/a Sage Pre-Owned
12

13   (“Sage Pre-Owned”), is a California limited liability company, with its principal
14
     place of business at 4110 Lankershim Blvd, North Hollywood, CA 91602. Sage
15

16   Pre-Owned transacts or has transacted business in this district. At all times
17
     material to this Complaint, acting alone or in concert with others, Sage Pre-Owned
18
     has advertised, marketed, distributed, or offered vehicles to consumers for sale or
19

20   lease.
21
              14.   SAGE VERMONT, LLC, also d/b/a Sage Hyundai (“Sage Hyundai”),
22

23   is a California limited liability company, with its principal place of business at 200
24
     N. Vermont Ave, Los Angeles, CA 90004. Sage Hyundai transacts or has
25
     transacted business in this district. At all times material to this Complaint, acting
26

27   alone or in concert with others, Sage Vermont has advertised, marketed,
28
     distributed, or offered vehicles to consumers for sale or lease.
                                               6
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            15.       SAGE HOLDING COMPANY, INC. (“Sage Holding”) is a
1

2    California corporation, with its principal place of business at 3550 Cahuenga Blvd.
3
     W., Los Angeles, CA, 90068. Sage Holding transacts or has transacted business in
4
     this district.
5

6           16.       SAGE MANAGEMENT CO., INC. (“Sage Management”) is a
7
     California corporation, with its principal place of business at 3550 Cahuenga Blvd.
8

9    W., Los Angeles, CA, 90068. Sage Management transacts or has transacted
10
     business in this district.
11
            17.       JOSEPH SCHRAGE, also known as JOSEPH SAGE, is or was a
12

13   manager, managing member, principal, officer, or owner of Universal City Nissan,
14
     Kia of Downtown, Glendale Nissan, Mercedes-Benz of Valencia, West Covina
15

16   Toyota, West Covina Nissan, Covina Chevrolet, Sage Pre-Owned, Sage Hyundai,
17
     Sage Holding, and Sage Management (collectively “Corporate Defendants”). At
18
     all times material to this Complaint, acting alone or in concert with others, he has
19

20   formulated, directed, controlled, had the authority to control, or participated in the
21
     acts and practices set forth in this Complaint. Joseph Schrage resides in this
22

23   district. Joseph Schrage, in connection with the matters alleged herein, transacts or
24
     has transacted business in this district.
25
            18.       LEONARD SCHRAGE, also known as LEONARD SAGE, is or was
26

27   a manager, managing member, principal, officer, or owner of Corporate
28
     Defendants. At all times material to this Complaint, acting alone or in concert with
                                               7
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     others, he has formulated, directed, controlled, had the authority to control, or
1

2    participated in the acts and practices set forth in this Complaint. Leonard Schrage
3
     resides in this district. Leonard Schrage, in connection with the matters alleged
4
     herein, transacts or has transacted business in this district.
5

6          19.    MICHAEL SCHRAGE, also known as MICHAEL SAGE, is or was a
7
     manager, managing member, principal, officer, or owner of Corporate Defendants.
8

9    At all times material to this Complaint, acting alone or in concert with others, he
10
     has formulated, directed, controlled, had the authority to control, or participated in
11
     the acts and practices set forth in this Complaint. Michael Schrage resides in this
12

13   district. Michael Schrage, in connection with the matters alleged herein, transacts
14
     or has transacted business in this district.
15

16                                COMMON ENTERPRISE
17
           20.    Corporate Defendants have operated as a common enterprise while
18
     engaging in the deceptive, unfair, and unlawful acts and practices alleged below.
19

20   Corporate Defendants have conducted the business practices described below
21
     through interrelated companies that have common ownership, officers, managers,
22

23   business functions, employees, and office locations; that have commingled funds;
24
     or that have shared the same outside vendors, including advertising and marketing.
25
     Because Corporate Defendants have operated as a common enterprise, each of
26

27   them is jointly and severally liable for the acts and practices alleged below.
28
     Defendants Joseph Schrage, Leonard Schrage, and Michael Schrage have
                                           8
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     formulated, directed, controlled, had the authority to control, or participated in the
1

2    acts and practices of the Corporate Defendants that constitute the common
3
     enterprise.
4
                                         COMMERCE
5

6          21.      At all times material to this Complaint, Universal City Nissan, Kia of
7
     Downtown, Glendale Nissan, Mercedes-Benz of Valencia, West Covina Toyota,
8

9    West Covina Nissan, Covina Chevrolet, Sage Pre-Owned, Sage Hyundai, Sage
10
     Holding, Sage Management, Joseph Schrage, Leonard Schrage, and Michael
11
     Schrage (collectively “Defendants”) have maintained a substantial course of trade
12

13   in or affecting commerce, as “commerce” is defined in Section 4 of the FTC Act,
14
     15 U.S.C. § 44.
15

16                        DEFENDANTS’ BUSINESS PRACTICES
17
           22.      Since at least 2010, Defendants have deceptively advertised offers to
18
     purchase, finance, and lease vehicles and have engaged in deceptive and unfair
19

20   practices relating to the lease, sale, and financing of vehicles and add-on products
21
     or services.
22

23         23.      Defendants have advertised in English, Spanish, and other languages,
24
     making enticing claims about key terms, such as low sales prices, low monthly
25
     payment amounts, and low down payment amounts. Defendants have frequently
26

27   misrepresented these claims and have hidden additional material terms that have
28
     significantly qualified or contradicted the prominently advertised terms. In some
                                                9
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      instances, Defendants have only provided these additional terms in English, even
1

2     when the advertisements otherwise have been presented in another language.
3
            24.    Defendants also have subjected consumers, particularly non-English
4
      speakers and individuals with poor credit, to deceptive, misleading, and unfair
5

6     practices when offering add-on products and services or when arranging financing.
7
            25.    In numerous instances, Defendants have packed additional charges for
8

9     products and services, known as add-ons (“add-on products”) into the amount
10
      financed without consumers’ informed consent or after deceptively claiming that
11
      such add-on products are required as a condition of the purchase or financing of
12

13    the vehicle or will improve consumers’ chances of obtaining financing.
14
            26.    Even after consumers have signed a contract and driven the vehicles
15

16    off Defendants’ lots, Defendants have used deceptive and unfair tactics to pressure
17
      consumers to agree to different financing terms or have otherwise refused to honor
18
      the contract. Such tactics are often known as “yo-yo practices.”
19

20          27.    Defendants have received numerous negative reviews on online
21
      websites complaining about Defendants’ deceptive and unfair practices. In
22

23    numerous instances, Defendants and Defendants’ employees have posted positive,
24
      five-star reviews of the dealerships on these websites that deceptively purport to be
25
      objective or independent.
26

27                                  Deceptive Advertising
28
            28.    Defendants have disseminated or caused to be disseminated
                                            10
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      advertisements promoting the purchase, finance, or lease of vehicles.
1

2           29.    Defendants’ advertisements, in numerous instances, have targeted
3
      consumers with poor credit or consumers who may have difficulty obtaining
4
      financing. For example, Defendants have advertised the following claims:
5

6

7

8

9

10          30.    Defendants have offered motor vehicles for purchase, finance, or lease
11
      in television, radio, print, text messaging, and online advertisements in English,
12

13    Spanish, and other languages. Defendants’ advertisement have made prominent
14
      claims about key attractive terms, such as low sales prices, low monthly payment
15

16
      amounts, or low down payment amounts. In numerous instances, these

17    advertisements conceal or omit other material terms, such as with miniscule fine
18
      print or with cursory, inconspicuous disclaimers.
19

20          31.    For example, Defendant Universal City Nissan ran newspaper
21
      advertisements that prominently offered a 2012 Nissan Versa for $38 down and
22

23
      $38 per month, in both English and Spanish:

24

25

26

27

28

                                               11
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5           32.       The fine print at the bottom of the ad reads:
6           2012 Versa Hatchback 4 Door Automatic – Selling Price $16,910 doc fee 80.00 Acquisition Fee $595 License $210
            gross Cap cost $17,505. $2695 Due at signing. MSRP $17,755. Residual $10,118.10. Mileage per year 12,000. Term of
7           lease 36 months. Advanced payment $195.34. Upfront charge $508.94. Initial Payment $2695.00. $38 payment for the
            first 6 months. Payment goes to $179.62 for the balance of the lease term. One at this price. Model #11412 VIN#285174.
8           2012 Versa Hatchback. 4 Puertas, Automatico. Precio de venta $16,901, proceso de documentos $80.00, cuota de
            adquisicion, $695, licencia $210. Costo bruto CAP $17,505. $2695 al momento de firmar. MSRP $17,755, Residual
9           $10,118.10. Millago por año 12,000. Termino de arrendamiento 36 meses, Adelanto $195.34. Cargo por adelantado
            $508.94. Pago inicial $2695.00, $38 pago por los primeros 6 meses. Pago sube a $179.62 por el balance del termino del
            arrendamiento. Uno a este precio. Modelo # 11412 Vin #314749
10

11          33.       Thus, consumers cannot pay only the “$38 down” that is prominently
12
      stated. They must pay $2,695 at signing, which is substantially more than the
13

14    “$38” stated at the top of the advertisements.
15
            34.       Similarly, consumers cannot pay only $38 per month. Rather, the $38
16
      payment is limited to the first 6 months. A consumer must pay $179.62 per month
17

18    for the remaining 30 months.
19
            35.       The advertisement additionally does not clearly disclose whether the
20

21    offer is for the purchase or lease of a motor vehicle. The fine print reveals that the
22
      offer is for the lease of a motor vehicle.
23
            36.       Similarly, an advertisement for Kia of Downtown purported to offer
24

25    to sell a 2012 Kia Rio for $36 down and $36 a month:
26

27

28

                                                                     12
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4

5           37.   However, a disclaimer in extremely fine print, literally hidden in the
6     weeds, revealed that the apparent sales offer was actually a lease offer. Moreover,
7
      the low payment “down” was, in fact, only part of more than $1700 “due at start of
8

9     lease.” The low payment “per month” was actually a payment that escalates after
10
      six months to $183 per month.
11

12            38. Defendant Mercedes Benz of Valencia ran an advertisement with
13    similar prominent terms of a $55 down payment and $55 monthly payments:
14

15

16

17

18
            39.   Defendant Mercedes Benz of Valencia only reveals in fine print that
19

20    the consumer must pay “tax, license, and dealer document fees” in addition to the

21    $55 and that the monthly payment increases after 6 months depending on the
22
      purchase price of the motor vehicle:
23

24

25

26          40.   Defendant West Covina Nissan mailed consumers an advertisement
27
      with similar prominent terms of a $55 down payment and $55 monthly payments:
28

                                              13
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5
            41.    In fact, the offer is for a lease, $2,654 is due to “drive-off” the vehicle,
6

7
      and the monthly payment is more than $302 after six months. These facts are

8     buried in fine print at the bottom of the advertisement.
9
            42.    Similarly, an advertisement from Defendant West Covina Toyota
10

11    purported to offer a Toyota Tacoma for a $55 down payment and $55 monthly
12
      payment:
13

14

15

16

17

18

19
            43.    In fact, $654 is due to “drive-off” the vehicle, and the monthly
20

21    payment after six months is more than $354. These facts are buried in fine print at
22
      the bottom of the advertisement.
23

24          44.    Defendant Glendale Nissan placed Spanish-language radio
25
      advertisements promoting key attractive terms contradicted by late and
26
      inconspicuous disclaimers. For example, in an advertisement broadcast on Los
27

28    Angeles-area Univision station 101.9 FM, Glendale Nissan claimed to offer Nissan
                                                14
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      Altimas for sale at $0 down or $169 per month. Glendale Nissan presented these
1

2     terms near the beginning of the 90-second radio spot and reiterated them near the
3
      close of the advertisement. Glendale Nissan only revealed in the last sentence of
4
      the advertisement that the offer is really for a lease rather than a sale, and that
5

6     instead of $0 down, a consumer would have to pay $3,999 to acquire the vehicle.
7
            45.    Defendant Covina Chevrolet has advertised various vehicles for sale
8

9     or financing at discounted prices, including, but not limited to, on its website,
10
      covinachevrolet.com, and on Facebook. For example, Defendant has touted a 2015
11
      Chevy Equinox for purchase at $18,488 or for lease at $79 per month.
12

13

14

15

16

17

18
            46.    In this and other advertisements, Defendant has not included
19

20    additional required information, such as the total amount due prior to or at
21
      consummation or by delivery, or the timing of the monthly payments.
22

23          47.    Defendant Covina Chevrolet also has referred the consumer to “See
24    Details.” The “See Details” link on either the website or the Facebook post has not
25
      disclosed any additional material terms of the offer.
26

27          48.    Additionally, in numerous instances, Defendants have advertised
28
      prominent terms that are not generally available to consumers. In numerous
                                              15
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      instances, the advertised prominent terms are subject to various qualifications or
1

2     restrictions. Such qualifications or restrictions have included, for example, being a
3
      current General Motors vehicle owner or lessee, being a college graduate, having
4
      certain credit scores, or financing with specified banks. In numerous instances,
5

6     even if consumers meet all of the qualifications or restrictions, they cannot obtain
7
      the advertised discount and price.
8

9           49.    For example, Defendant Covina Chevrolet has advertised a 2015
10
      Chevrolet Camaro LS for lease at $89 per month.
11

12

13

14

15

16          50.    However, the advertised monthly payment is not generally available
17
      to consumers. Instead, the advertised monthly payment is subject to various
18

19    qualifications and restrictions. One such qualification or restriction includes being
20
      a current General Motors vehicle owner or lessee.
21

22
            51.    In some instances, Defendants have made enticing claims about key

23    terms in other languages, such as Spanish, but have hidden additional material
24
      terms in English.
25

26

27

28

                                               16
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            52.    For example, Defendant Universal City Nissan has run a Spanish
1

2     television advertisement promoting a 2014 Nissan Altima for lease at “$99 AL
3
      MES” ($99 per month):
4

5

6

7

8
            53.    Defendant Universal City Nissan has included an English disclaimer
9

10    in extremely fine print in the Spanish advertisement. The English disclaimer has
11
      indicated that the low monthly payment is subject to various qualifications and
12

13    restrictions, including a college graduate discount, and a 740 credit score, and a 5-
14    year credit history. The advertised monthly payment is subject to various
15
      qualifications and restrictions, including a college graduate discount, a 740 credit
16

17    score, and a 5-year credit history. Thus, the advertised monthly payment is not
18
      generally available to consumers.
19

20          54.    In numerous instances, Defendants’ advertisements also have
21    represented that “We can pay off your trade-in even if you owe on a loan or lease”:
22

23

24

25

26

27

28

                                               17
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                                               ....
1

2

3

4           55.    In fact, if a consumer owes on a trade-in loan or lease, Defendants
5
      have added the amount owed on the trade-in vehicle to the new loan or lease
6

7     balance the consumer must pay. In some advertisements, Defendants only have
8
      revealed in fine print that consumers might still have to pay off their trade-in as
9

10
      part of the new loan or lease balance:

11

12

13
                               Background on Dealer Financing
14

15
            56.    After a consumer has decided to purchase a vehicle from Defendants,

16    Defendants have presented the consumer with paperwork to sign and close the
17
      deal, typically in the dealership’s Finance and Insurance (“F&I”) office.
18

19    Defendants typically have offered to arrange financing for the consumer as part of
20
      the closing process.
21

22
            57.    In the F&I office, Defendants typically have promoted add-on

23    products such as extended warranties, Guaranteed Auto Protection (“GAP”),
24
      maintenance plans, service contracts, and VIN etching. The cost of these products
25

26    may be included in the contract Defendants have prepared to finance the purchase
27
      of the motor vehicle.
28

                                                18
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            58.    In numerous instances, Defendants have selected and preprinted add-
1

2     on products on the sales and financing forms, such as the F&I product menus, pre-
3
      contract disclosures, and the contract, before discussing or presenting them to the
4
      consumer.
5

6        Defendants’ Deceptive and Unfair Practices Relating to Add-On Products
7
            59.    In numerous instances, Defendants have charged consumers for add-
8

9     on products that the consumers did not authorize. Multiple consumers, for
10
      example, have complained that Defendant Covina Chevrolet included a VIN
11
      etching fee in their contract that they did not authorize. Another consumer
12

13    complained that Universal City Nissan added a $3,400 service warranty to the
14
      amount that he financed for the purchase of a vehicle. The dealership did not tell
15

16    the consumer about the warranty, and the consumer did not want to purchase it.
17
      Other consumers have reported that Defendants charged them for add-on products
18
      that the consumers had rejected.
19

20          60.    Information about the add-on products is often included in a stack of
21
      of lengthy, complex, highly technical documents presented at the close of a long
22

23    financing process after an already lengthy process of selecting a car and
24
      negotiating over its price. Consumers report that Defendants’ employees, in
25
      numerous instances, have rushed consumers through the closing process and have
26

27    simply indicated to consumers where to sign. In some cases, Defendants have
28
      obtained consumer signatures purporting to indicate assent to purchase add-on
                                             19
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      products even though consumers did not, in fact, authorize the purchase. For
1

2     instance, a third-party audit found that Defendant Kia of Downtown required
3
      consumers to sign for GAP and service contracts regardless of whether the
4
      consumers were actually purchasing the add-on products. The third-party audit
5

6     also found that other dealerships were having consumers sign blank documents.
7
            61.    In numerous other instances, Defendants have told consumers that
8

9     they would not be charged the cost of the add-on products. For example,
10
      Defendant West Covina Nissan promised one consumer two years of free oil
11
      changes and tire rotations if she purchased the vehicle. West Covina Nissan,
12

13    however, charged the consumer $1,000 for the maintenance agreement. Similarly,
14
      Defendant Universal City Nissan offered another consumer two years of free oil
15

16    changes, telling her that the dealership had no more room to negotiate the car’s
17
      price but would include this maintenance agreement for free. Universal City
18
      Nissan charged the consumer $1,825 for the maintenance agreement.
19

20          62.    In numerous instances, Defendants have told consumers that they
21
      could cancel the add-on products within a specified time for a refund. In numerous
22

23    instances where consumers have tried to cancel, Defendants have failed to process
24
      the paperwork or have claimed to have lost the paperwork, resulting in delayed
25
      cancellations or lower refund payments.
26

27          63.    In numerous instances, Defendants have deceptively claimed that the
28
      purchase of an add-on product, such as GAP insurance or a service contract, is a
                                              20
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      condition of the purchase or financing of the vehicle or will improve the
1

2     consumer’s chances of obtaining financing. For example, Glendale Nissan had
3
      offered one consumer a contract with a 5.05% APR, instead of 11.99%, but had
4
      represented that the financing company required her to purchase a warranty to
5

6     receive the lower APR. In reality, the financing company had not required the
7
      warranty. In October 2015, one customer complained that Defendant Covina
8

9     Chevrolet represented that he was required to purchase GAP to obtain better
10
      financing while another customer complained that Defendant Covina Chevrolet
11
      told him that he was required to buy a $900 protection plan to purchase the vehicle.
12

13          64.    Indeed, the former General Manager for Defendants Universal City
14
      Nissan and Glendale Nissan has stated that the dealerships “improperly charged
15

16    customers for warranties on automobile transactions in which they were not legally
17
      entitled to charge and receive monies from the customers for such guarantees.”
18
                             Background on Assigning Financing
19

20          65.    Dealers frequently offer financing to consumers looking to purchase a
21
      vehicle. As part of this process, dealers extend financing terms, including the
22

23    amount financed, term, and annual percentage rate (APR), to the consumer as part
24
      of same transaction as the vehicle purchase. Although the dealer is the creditor on
25
      the financing contract, dealers typically do not service the contract and instead seek
26

27    to assign the contract to a third party, such as a bank, finance company, or credit
28
      union (collectively, “finance company”). In such circumstances, dealers typically
                                             21
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      attempt to offer financing terms to the consumer that the finance company would
1

2     accept.
3
            66.     Dealers that engage in this type of lending may allow a consumer to
4
      take possession of a vehicle before the financing is assigned. When third-party
5

6     financing is not secured, consumers have options: if a dealer does not assign the
7
      contract, a dealer may be obligated to service the contract or to notify the consumer
8

9     that the deal is cancelled or unwound. A dealer may then ask the consumer to
10
      return the vehicle in exchange for return of the consumer’s down payment, trade-in
11
      vehicle, or any other consideration provided by the consumer. Under these
12

13    circumstances, a consumer is not required to sign a new contract.
14
                Defendants’ Unlawful Practices Relating to Assigning Financing
15

16          67.     Even after consumers have signed a contract and driven the vehicles
17
      off Defendants’ lots, Defendants have used deceptive and unfair tactics to pressure
18
      consumers who have financed through Defendants to agree to different financing
19

20    terms or have otherwise refused to honor the contract.
21
            68.     Here, Defendants have engaged in lending, touting their ability to
22

23    obtain financing for consumers with poor credit or consumers who may have
24
      difficulty obtaining financing. Defendant West Covina Nissan has claimed that it
25
      “specialize(s) in bad credit and high risk auto loans.” Defendant Glendale Nissan
26

27    has represented that “years of relationship building with the banks,” allows them to
28
      get consumers “the best financing” and to save consumers’ time and “hard earned
                                              22
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      money.” Instead of negotiating terms a third party financing company would
1

2     accept, however, Defendants Glendale Nissan and Universal City Nissan have
3
      admitted that their dealerships have “approved deals to customers with risky credit
4
      before bank financing had been secured in order to increase their sales numbers. . .
5

6     . knowing that the dealership was not going to be able to secure bank financing on
7
      the offered terms.”
8

9           69.    In many instances, when Defendants have failed to assign financing,
10
      instead of providing consumers accurate and truthful information about the deal or
11
      abiding by the terms of the contract, Defendants have engaged in “yo-yo tactics” to
12

13    deceptively or unfairly induce consumers who have signed contracts and driven off
14
      the lots with the vehicles to sign new contracts and pay a higher interest rate, make
15

16    an additional down payment, or agree to other terms that differ materially from the
17
      original terms to which the consumer agreed. In some such instances, Defendants
18
      have represented to consumers that they must sign the new contract. In fact, there
19

20    is no legal or other requirement that consumers sign a new contract when
21
      Defendants have failed to assign financing on the terms to which the consumer
22

23    agreed in the original contract.
24
            70.    In other instances where Defendants have not assigned financing and
25
      have sent notice cancelling the deal, Defendants have represented that they are not
26

27    required to return any consideration provided by the consumer, including any
28
      down payment or trade-in vehicle when the consumer has followed up on the
                                            23
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      demand to return the vehicle. In fact, Defendants legally are required to return
1

2     consideration provided by the consumer when consumers have sought to return the
3
      vehicle in response to Defendants’ demand. Additionally, fine print in Defendants’
4
      contract provides that Defendants may cancel the contract if they are unable to
5

6     assign financing, but to do so, Defendants must give the consumer written or actual
7
      notice within 10 days of the intitial contract date. The contract also provides that if
8

9     Defendants cancel the contract, they “must give back. . . all consideration
10
      received,” including any trade-in motor vehicle. In numerous instances, however,
11
      Defendants have refused to return the consumer’s down payment or trade-in
12

13    vehicle promptly or at all.
14
            71.     In numerous other instances where a consumer has requested
15

16    compliance with the terms of the valid, binding contract or has refused Defendants’
17
      unlawful demands to sign a new contract or to return the vehicle, Defendants have
18
      refused to comply with the contract. Instead, Defendants have falsely represented
19

20    that consumers will be liable for legal action, including lawsuits, repossession, or
21
      criminal arrest for a stolen vehicle.
22

23          72.    In certain instances where consumers had valid, binding contracts,
24
      Defendants actually have had consumers’ vehicles repossessed. In such instances,
25
      consumers have been deprived of vital medications or other belongings.
26

27

28

                                                24
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                                 Deceptive Consumer Reviews
1

2           73.    Defendants have received numerous negative reviews on third-party
3
      online review and social media websites, such as Facebook, Google+, and Yelp,
4
      complaining about their deceptive and unfair practices.
5

6           74.    Defendants have used a third-party reputation management company
7
      to monitor and manage social media and online reviews. As part of its monitoring
8

9     services for Defendants, the reputation management company typically has
10
      notified Defendants, including the general managers of the dealerships, when
11
      consumer reviews are posted online. The reputation management company also
12

13    generally has posted a standard response to consumer reviews and, in numerous
14
      instances, has requested approval or has sought guidance on responding to reviews.
15

16    In numerous instances, Defendants Joseph Schrage or Michael Schrage have been
17
      copied on or forwarded these communications.
18
            75.    The reputation management company found in a 2015 consumer
19

20    survey that 50 percent of those surveyed “ranked review sites as the most
21
      influential dealership selection tool” and that 66 percent of car buyers “look at star
22

23    ratings in search results even if they don’t click through to read the reviews.”
24
            76.      In numerous instances, Defendants and their employees or agents
25
      have posted positive, five-star reviews of the dealerships on these third-party
26

27    online review and social media websites that purport to be objective or
28
      independent. For example, at least thirteen of Kia of Downtown’s five-star
                                               25
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      Facebook reviews and five of Sage Hyundai’s five-star Facebook reviews have
1

2     been posted by Defendants or Defendants’ employees or agents.
3
            77.    Similarly, following a number of negative Yelp reviews about
4
      Defendant West Covina Nissan, Defendant West Covina Nissan’s internet
5

6     manager, his wife, and another manager posted five-star reviews purporting to be
7
      objective or independent. The internet manager’s review asserted that a “salesman
8

9     told me when customers don’t get there [sic] price[,] one way they want to get
10
      revenge is to put a bad review to taint the reputation of the place.” The internet
11
      manager’s wife posted a five-star review on the same day as the internet manager.
12

13    Her review also addressed Defendant West Covina Nissan’s “many negative
14
      reviews,” stating “auto dealers have a bad rep and most dealers have bad yelp
15

16    reviews, I will not let it bother, go inn and ask for Internet department and they
17
      will take a good car of you [sic].” Approximately four days later, another manager
18
      posted a five-star review.
19

20          78.    Defendants’ websites also have included reviews from these third-
21
      party websites, including reviews from individuals who purport to be, but are not,
22

23    object or independent consumers. For example, the landing page for Defendant
24
      Kia of Downtown’s website, www.kiaofdtla.com, has included a “Review” link
25
      that opens a pop-up window of “consumer” reviews collected from ten different
26

27    online websites. These “consumer” reviews include reviews from an internet sales
28
      employee. One of the employee’s reviews has stated:
                                           26
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              I would like to update my review to state that this dealership is truly
1             exceptional and I really appreciate the way they treat their clients. If
2             you have any issues you can just contact the dealership to speak to a
              manager and they will help resolve any issue you might have. I say
3
              this from experience, they are super helpful and they care about their
4             clients a lot.
5                              VIOLATIONS OF THE FTC ACT
6
              79.   Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), prohibits “unfair or
7

8     deceptive acts or practices in or affecting commerce.”
9
              80.   Misrepresentations or deceptive omissions of material fact constitute
10

11    deceptive acts or practices prohibited by Section 5(a) of the FTC Act.

12            81.   Acts or practices are unfair under Section 5 of the FTC Act if they
13
      cause substantial injury to consumers that consumers cannot reasonably avoid
14

15    themselves and that is not outweighed by countervailing benefits to consumers or
16
      competition. 15 U.S.C. § 45(n).
17

18                                      Count I:
              Misrepresentations Regarding Lease, Credit, or Purchase Terms
19
              82.   In numerous instances, through the means described in Paragraphs 28-
20

21    55 Defendants have represented, directly or indirectly, expressly or by implication,
22
      that:
23

24                  (a)    Consumers can finance or lease vehicles for prominently
25
                           advertised monthly payment amounts;
26
                    (b)    Consumers can finance or lease vehicles for prominently
27

28                         advertised down payments or amounts due at signing; or
                                                 27
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                  (c)    Vehicles are generally available to consumers at prominently
1

2                        advertised terms, such as price.
3
                  (d)    Defendants will pay off the consumer’s trade-in even if the
4
                         consumer owes money on the trade-in vehicle loan or lease.
5

6           83.   In truth and in fact, in numerous instances in which Defendants have
7
      made the representations set forth in Paragraph 82 of this Complaint:
8

9                 (a)    Consumers cannot finance or lease vehicles for the prominently
10
                         advertised monthly payment amounts. The specified monthly
11
                         payment amounts are limited to the first six months and
12

13                       increase substantially thereafter.
14
                  (b)    Consumers cannot finance or lease vehicles for the prominently
15

16                       advertised down payments or amounts due at signing.
17
                         Consumers must pay substantially more than the prominently
18
                         advertised down payment amount or the amount due at signing.
19

20                (c)    The vehicles are not available at the prominently advertised
21
                         terms, such as price, or are not generally available to consumers
22

23                       at such terms.
24
                  (d)    Defendants do not pay off the consumer’s trade-in even if the
25
                         consumer owes money on the trade-in vehicle loan or lease.
26

27                       Instead, Defendants include the amount owed on the trade-in
28

                                               28
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                           vehicle in the loan or lease for the newly purchased or leased
1

2                          vehicle.
3
               84.   Therefore, the making of the representations as set forth in Paragraph
4
      82 of this Complaint constitutes a deceptive act or practice in or affecting
5

6     commerce in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).
7
                                          Count II:
8                    Misrepresentations Regarding Advertised Transaction
9
               85.   In numerous instances, through the means described in Paragraphs 28-
10

11    55 Defendants have represented, directly or indirectly, expressly or by implication,
12
      that consumers can finance the purchase of vehicles for the prominently advertised
13

14
      terms.

15             86.   In truth and in fact, in numerous instances in which Defendants have
16
      made the representations set forth in Paragraph 85 of this Complaint, consumers
17

18    cannot finance the purchase of vehicles for the prominently advertised terms. The
19
      prominently advertised terms are components of lease offers and not credit offers.
20

21
               87.   Therefore, the making of the representations as set forth in Paragraph

22    85 of this Complaint constitutes a deceptive act or practice in or affecting
23
      commerce in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).
24

25                                       Count III:
                       Misrepresentations Regarding Add-On Products
26

27             88.   In numerous instances in connection with the advertising, marketing,
28
      promotion, offering for sale, or sale of vehicles or the financing of automotive
                                                29
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      loans, Defendants have represented, directly or indirectly, expressly or by
1

2     implication, that (a) charges appearing on the contract for the purchase of the
3
      vehicle are authorized by consumers, (b) consumers would not be charged the cost
4
      of add-on products, or (c) add-on products are required to purchase or finance the
5

6     vehicle or will improve the consumer’s chances of obtaining financing.
7
            89.    In truth and in fact, in numerous instances in which Defendants have
8

9     made the representation set forth in Paragraph 88 of this Complaint, (a) charges
10
      appearing on the contract for the purchase of the vehicle include add-on products
11
      that consumers had not authorized, (b) consumers are charged the cost of add-on
12

13    products, and (c) add-on products are not required to purchase or finance the
14
      vehicle and will not improve the consumer’s chances of obtaining financing.
15

16          90.    Therefore, Defendants’ representations as set forth in Paragraph 88 of
17
      this Complaint are false or misleading and constitute deceptive acts or practices in
18
      violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).
19

20                                       Count IV:
21
                       Unfair Practices Regarding Add-On Products

22          91.    In numerous instances, Defendants have charged consumers for add-
23
      on products for which consumers have not provided express, informed consent.
24

25          92.    Defendant’s practices as described in Paragraph 91 cause or are likely

26    to cause substantial injury to consumers that consumers themselves cannot
27
      reasonably avoid and that is not outweighed by countervailing benefits to
28

                                               30
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      consumers or competition.
1

2           93.    Therefore, Defendants’ practices as described in Paragraph 91
3
      constitute unfair acts or practices in violation of Section 5 of the FTC Act, 15
4
      U.S.C. §§ 45(a) and 45(n).
5

6                                          Count V:
7
                                   Deceptive Yo-Yo Practices

8           94.    In numerous instances after a consumer has signed a contract to
9
      finance a vehicle, Defendants have represented, directly or indirectly, expressly or
10

11    by implication, that (a) the consumer is required to sign a new contract, (b)

12    Defendants are not required to return any consideration provided by the consumer,
13
      including any down payment or trade-in vehicle, after demanding return of the
14

15    vehicle, or (c) the consumer will be liable for legal action, including lawsuits,
16
      lawful repossession, criminal arrest, or debt collection if the consumer does not
17

18    return the vehicle.

19          95.    In truth and in fact, in numerous instances in which Defendants have
20
      made the representations set forth in Paragraph 94 of this Complaint, (a) the
21

22    consumer is not required to sign a new contract, (b) Defendants are required to
23
      return any consideration provided by the consumer, including any down payment
24

25    or trade-in vehicle, after demanding return of the vehicle, and (c) the consumer will

26    not be liable for legal action, including lawsuits, lawful repossession, criminal
27
      arrest, or debt collection if the consumer does not return the vehicle.
28

                                                31
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            96.    Therefore, Defendants’ representations as set forth in Paragraph 94 of
1

2     this Complaint are false or misleading and constitute deceptive acts or practices in
3
      violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).
4
                                          Count VI:
5
                                    Unfair Yo-Yo Practices
6
            97.    In numerous instances, Defendants (a) have refused to return or return
7

8     promptly consideration provided by the consumer, including any down payment or
9
      trade-in, when Defendants have demanded return of the vehicle or (b) have or have
10

11    threatened to refer consumers for arrest or criminal prosecution, report the motor

12    vehicle as stolen, or repossess the motor vehicle when a consumer has requested
13
      compliance with the terms of the valid, binding contract or has refused Defendants’
14

15    unlawful demands to sign a new contract or to return the vehicle.
16
            98.    Defendants’ actions have caused or are likely to cause substantial
17

18    injury to consumers that consumers themselves cannot reasonably avoid and that is

19    not outweighed by any countervailing benefits to consumers or competition.
20
            99.    Therefore, Defendants’ practices as described in Paragraph 97
21

22    constitute unfair acts or practices in violation of Section 5 of the FTC Act, 15
23
      U.S.C. §§ 45(a) and 45(n).
24

25                                       Count VII
                                Deceptive Consumer Reviews
26
            100. In numerous instances, through the means described in Paragraphs 73-
27

28    78, Defendants have represented, directly or indirectly, expressly or by
                                               32
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      implication, that persons who have posted or provided reviews or other
1

2     information about Defendants’ products and services are objective or independent.
3
            101. In truth and in fact, in numerous instances in which Defendants have
4
      made the representations set forth in Paragraph 100, the persons who have posted
5

6     or provided the reviews or other information are not objective or independent.
7
            102. Therefore, the making of the representations as set forth in Paragraph
8

9     100 of this Complaint constitutes a deceptive act or practice in or affecting
10
      commerce in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).
11
       VIOLATIONS OF THE TRUTH IN LENDING ACT AND REGULATION Z
12

13          103. Under Section 144 of the TILA and Section 226.24(d) of Regulation
14
      Z, as amended, advertisements promoting closed-end credit in consumer credit
15
      transactions are required to make certain disclosures (“TILA additional terms”) if
16

17    they state any of several terms, such as the monthly payment (“TILA triggering
18
      terms”).
19

20          104. Defendants’ advertisements promote closed-end credit, including but
21
      not necessarily limited to those described in Paragraphs 28-55, and Defendants are
22
      subject to the requirements of the TILA and Regulation Z.
23

24                                       Count VIII:
25                       Failure to Disclose or Disclose Clearly and
                        Conspicuously Required Credit Information
26
            105. Defendants’ advertisements promoting closed-end credit, including,
27

28    but not limited to, those described in Paragraphs 28-55 have included TILA
                                               33
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      triggering terms, but have failed to disclose, and/or failed to disclose clearly and
1

2     conspicuously, TILA additional terms required by the TILA and Regulation Z,
3
      including one or more of the following:
4
                   (a)    The amount or percentage of the down payment;
5

6                  (b)    The terms of repayment, which reflect the repayment
7
                          obligations over the full term of the loan, including any balloon
8

9                         payment; and
10
                   (c)    The “annual percentage rate,” using that term, and, if the rate
11
                          may be increased after consummation, that fact.
12

13          106. Therefore, the practices as set forth in Paragraph 105 of this
14
      Complaint have violated Section 144 of the TILA, 15 U.S.C. § 1664, and Section
15

16    226.24(d) of Regulation Z, 12 C.F.R. §226.24(d), as amended.
17
      VIOLATIONS OF THE CONSUMER LEASING ACT & REGULATION M
18
            107. Under Section 184 of the CLA and Section 213.7 of Regulation M,
19

20    advertisements promoting consumer leases are required to make certain disclosures
21
      (“CLA additional terms”) if they state any of several terms, such as the amount of
22
      any payment (“CLA triggering terms”). 15 U.S.C. § 1667c; 12 C.F.R. § 213.7.
23

24          108. Defendants’ advertisements promoting consumer leases, including but
25
      not necessarily limited to those described in Paragraph 107, are subject to the
26

27    requirements of the CLA and Regulation M.
28

                                                34
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                                           Count IX:
1                        Failure to Disclose or to Disclose Clearly and
2                        Conspicuously Required Lease Information
3           109. Defendants’ advertisements promoting consumer leases, including but
4
      not necessarily limited to those described in Paragraphs 28-55, have included CLA
5

6     triggering terms, but have failed to disclose or to disclose clearly and
7
      conspicuously CLA additional terms required by the CLA and Regulation M,
8
      including one or more of the following:
9

10                 (a)    That the transaction advertised is a lease;
11
                   (b)    The total amount due prior to or at consummation or by
12

13                        delivery, if delivery occurs after consummation;
14
                   (c)    Whether or not a security deposit is required;
15
                   (d)    The number, amount, and timing of scheduled payments; and
16

17                 (e)    With respect to a lease in which the liability of the consumer at
18
                          the end of the lease term is based on the anticipated residual
19

20                        value of the property, that an extra charge may be imposed at
21
                          the end of the lease term.
22
            110. Therefore, the practices as set forth in Paragraph 109 of this
23

24    Complaint have violated Section 184 of the CLA, 15 U.S.C. § 1667c, and Section
25
      213.7 of Regulation M, 12 C.F.R. §213.7.
26

27                                  CONSUMER INJURY
28
            111. Consumers have suffered and will continue to suffer substantial injury
                                                35
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      as a result of Defendants’ violations of the FTC Act, TILA, Regulation Z, the
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2     CLA, and Regulation M. In addition, Defendants have been unjustly enriched as a
3
      result of their unlawful acts or practices. Absent injunctive relief by this Court,
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      Defendants are likely to continue to injure consumers, reap unjust enrichment, and
5

6     harm the public interest.
7
                      THIS COURT’S POWER TO GRANT RELIEF
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9           112. Section 13(b) of the FTC Act, 15 U.S.C. § 53(b), empowers this Court
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      to grant injunctive and such other relief as the Court may deem appropriate to halt
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      and redress violations of any provision of law enforced by the FTC. The Court, in
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13    the exercise of its equitable jurisdiction, may award ancillary relief, including
14
      rescission or reformation of contracts, restitution, the refund of monies paid, and
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16    the disgorgement of ill-gotten monies, to prevent and remedy any violation of any
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      provision of law enforced by the FTC.
18
                                   PRAYER FOR RELIEF
19

20          Wherefore, Plaintiff Federal Trade Commission, pursuant to Section 13(b)
21
      of the FTC Act, 15 U.S.C. § 53(b), TILA and its implementing Regulation Z, 12
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23    C.F.R. § 226, CLA and its implementing Regulation M, 12 C.F.R. § 213, and the
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      Court’s own equitable powers, requests that the Court:
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            A.     Award Plaintiff such preliminary injunctive and ancillary relief as
26

27    may be necessary to avert the likelihood of consumer injury during the pendency
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